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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
v.                                         )     CASE NO. 2:04CR214-A
                                           )     [WO]
XAVIER HOPKINS                             )

                                 ORDER ON MOTION

       On 17 June 2005, the court conducted an evidentiary hearing on the petition to revoke

the defendant’s pretrial release. Upon consideration of the allegations in the petition, the

evidence received at the hearing, and counsel’s argument, it is

       ORDERED that the petition is GRANTED. It is further

       ORDERED that the defendant’s pretrial release be REVOKED pending his trial. The

court FINDS that the defendant, without good cause, failed to comply with the requirements

of home confinement and electronic monitoring. Accordingly. he is remanded to the United

States M arshal pending his trial.

       DONE this 23rd day of June, 2005.




                                           /s/ Vanzetta Penn McPherson
                                           VANZETTA PENN MCPHERSON
                                           UNITED STATES MAGISTRATE JUDGE
